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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                     NORTHERN DIVISION


Trevor Kelley,

                    Plaintiff,                        ORDER TO SHOW CAUSE

           vs.

The Children's Place,                                     Case No. 2:17-cv-00636-BCW
                    Defendant.




            A summons was issued in this case in June 2017 1 and since that time there has been no

other activity in this case.

           Accordingly, Plaintiff is hereby ordered to show cause why the above captioned case

should not be dismissed. Plaintiff is directed to respond in writing within 14 days from the date

of this order and inform the Court of the status of the case and intentions to proceed. Failure to

do so will result in dismissal of the case.

                       DATED this 29 December 2017.




                                                Brooke C. Wells
                                                United States Magistrate Judge




1
    Docket no. 3.
